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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re:                                                         )     Chapter 11
                                                                   )
    YELLOW CORPORATION, et al.,1                                   )     Case No. 23-11069 (CTG)
                                                                   )
                             Debtors.                              )     (Joint Administered)
                                                                   )
                                                                   )     Re: Docket No. 874

    AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON OCTOBER 23,
    2023 AT 10:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE
     CRAIG T. GOLDBLATT AT THE UNITED STATES BANKRUPTCY COURT FOR
     THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
          3rd FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


    This hearing will be conducted in-person. All parties, including witnesses, are expected to
      attend in person unless permitted to appear via Zoom. Participation at the in-person
     court proceeding using Zoom is allowed only in the following circumstances: (i) a party
    who files a responsive pleading intends to make only a limited argument; (ii) a party who
      has not submitted a pleading but is interested in observing the hearing; or (iii) other
       extenuating circumstances as determined by Judge Goldblatt. All participants over
               Zoom must register in advance. Please register by October 20, 2023,
                                        at 4:00 p.m. (EST).

                                              Registration Link:


     https://debuscourts.zoomgov.com/meeting/register/vJIsduqsqjkoGpNF8u2qcuPeBwA_Cf4e9tw




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
Overland Park, Kansas 66211.

2
    Amended items are noted in bold.


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RESOLVED MATTERS:
1.      Application of the Official Committee of Unsecured Creditors of Yellow Corporation, et
        al. to Retain and Employ Akin Gump Strauss Hauer & Feld LLP as Lead Co-Counsel,
        Nunc Pro Tunc to August 18, 2023 [Filed: 9/18/23] (Docket No. 597)

        Response Deadline: October 2, 2023 at 4:00 p.m. (ET)

        Responses Received: None.

        Related Documents:

        A.       Supplemental Declaration of Philip C. Dublin in Support of the Application of the
                 Official Committee of Unsecured Creditors of Yellow Corporation, et al. to Retain
                 and Employ Akin Gump Strauss Hauer & Feld LLP as Lead Co-Counsel, Nunc Pro
                 Tunc to August 18, 2023 [Filed: 9/28/23] (Docket No. 690)

        B.       Certification of Counsel Regarding Application of the Official Committee of
                 Unsecured Creditors of Yellow Corporation, et al. to Retain and Employ Akin
                 Gump Strauss Hauer & Feld LLP as Lead Co-counsel, Nunc Pro Tunc to August
                 18, 2023 [Filed: 10/3/23] (Docket No. 748)

        C.       [Signed] Order Authorizing the Official Committee of Unsecured Creditors of
                 Yellow Corporation, et al. to Retain and Employ Akin Gump Strauss Hauer & Feld
                 LLP as Lead Co-Counsel, Nunc Pro Tunc to August 18, 2023 [Filed: 10/4/23]
                 (Docket No. 760)

        Status: The Court has entered an order on this matter. No hearing is necessary.

2.      Application of the Official Committee of Unsecured Creditors of Yellow Corporation, et
        al. to Retain and Employ Benesch, Friedlander, Coplan & Aronoff LLP as Delaware
        Counsel and Co-Counsel, Nunc Pro Tunc to August 22, 2023 [Filed: 9/18/23] (Docket No.
        598)

        Response Deadline: October 2, 2023 at 4:00 p.m. (ET)

        Responses Received: None.

        Related Documents:

        A.       Certification of Counsel Regarding Application of the Official Committee of
                 Unsecured Creditors of Yellow Corporation, et al. to Retain and Employ Benesch,
                 Friedlander, Coplan & Aronoff LLP as Delaware Counsel and Co-Counsel, Nunc
                 Pro Tunc to August 22, 2023 [Filed: 10/3/23] (Docket No. 749)

        B.       [Signed] Order Authorizing the Official Committee of Unsecured Creditors of
                 Yellow Corporation, et al. to Retain and Employ Benesch, Friedlander, Coplan &
                 Aronoff LLP as Delaware Counsel and Co-Counsel, Nunc Pro Tunc to August 22,
                 2023 [Filed: 10/4/23] (Docket No. 762)

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        Status: The Court has entered an order on this matter. No hearing is necessary.

3.      Application of the Official Committee of Unsecured Creditors of Yellow Corporation, et
        al. to Retain and Employ Miller Buckfire as Investment Banker, Nunc Pro Tunc to August
        21, 2023 [Filed: 9/18/23] (Docket No. 599)

        Response Deadline: October 2, 2023 at 4:00 p.m. (ET)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       Certification of Counsel Regarding Application of the Official Committee of
                 Unsecured Creditors of Yellow Corporation, et al. to Retain and Employ Miller
                 Buckfire as Investment Banker, Nunc Pro Tunc to August 21, 2023 [Filed: 10/3/23]
                 (Docket No. 750)

        B.       [Signed] Order Authorizing the Official Committee of Unsecured Creditors of
                 Yellow Corporation, et al. to Retain and Employ Miller Buckfire as Investment
                 Banker, Nunc Pro Tunc to August 21, 2023 [Filed: 10/4/23] (Docket No. 764)

        Status: The Court has entered an order on this matter. No hearing is necessary.

4.      Application of the Official Committee of Unsecured Creditors of Yellow Corporation, et
        al. to Retain and Employ Huron Consulting Services LLC as Financial Advisor, Nunc Pro
        Tunc to August 21, 2023 [Filed: 9/18/23] (Docket No. 600)

        Response Deadline: October 2, 2023 at 4:00 p.m. (ET)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       Supplemental Declaration of Laura Marcero in Support of the Application of the
                 Official Committee of Unsecured Creditors of Yellow Corporation, et al. to Retain
                 and Employ Huron Consulting Services LLC as Financial Advisor, Nunc Pro Tunc
                 to August 21, 2023 [Filed: 9/28/23] (Docket No. 691)

        B.       Certification of Counsel Regarding Application of the Official Committee of
                 Unsecured Creditors of Yellow Corporation, et al. to Retain and Huron Consulting
                 Services LLC as Financial Advisor, Nunc Pro Tunc to August 21, 2023 [Filed:
                 10/3/23] (Docket No. 751)

        C.       [Signed] Order Authorizing the Official Committee of Unsecured Creditors of
                 Yellow Corporation, et al. to Retain and Employ Huron Consulting Services LLC
                 as Financial Advisor, Nunc Pro Tunc to August 21, 2023 [Filed: 10/4/23] (Docket
                 No. 761)



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        Status: The Court has entered an order on this matter. No hearing is necessary.

5.      Motion of the Official Committee of Unsecured Creditor of Yellow Corporation, et al.,
        for Entry of an Order Clarifying the Requirement to Provide Access to Confidential or
        Privileged Information and Approving a Protocol Regarding Creditor Requests for
        Information [Filed: 10/9/23] (Docket No. 794)

        Response Deadline: October 16, 2023 at 4:00 p.m. (ET)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       Certification of No Objection Regarding Motion of the Official Committee of
                 Unsecured Creditor of Yellow Corporation, et al., for Entry of an Order Clarifying
                 the Requirement to Provide Access to Confidential or Privileged Information and
                 Approving a Protocol Regarding Creditor Requests for Information [Filed:
                 10/17/23] (Docket No. 861)

        B.       [Signed] Order Clarifying the Requirement to Provide Access to Confidential or
                 Privileged Information and Approving a Protocol Regarding Creditor Requests for
                 Information [Filed: 10/19/23] (Docket No. 872)

        Status: The Court has entered an order on this matter. No hearing is necessary.

CONTINUED MATTERS:

6.      Debtors’ Application Pursuant to Sections 327(e), 328(a), and 339 of the Bankruptcy
        Code for Entry of an Order Authorizing the Retention and Employment of Kasowitz
        Benson Torres LLP, as Special Litigation Counsel to the Debtors Effective as of the
        Petition Date [Filed: 9/7/23] (Docket No. 418)

        Response Deadline: September 21, 2023 at 4:00 p.m. (ET)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       [Proposed] Order Pursuant to Sections 327(e), 328(a), and 339 of the Bankruptcy
                 Code for Entry of an Order Authorizing the Retention and Employment of
                 Kasowitz Benson Torres LLP, as Special Litigation Counsel to the Debtors
                 Effective as of the Petition Date [Filed: 9/7/23] (Docket No. 418, Exhibit A)

        Status: This matter is adjourned until November 13, 2023 at 10:00 a.m. (ET).

7.      Motion of TSC Equipment Finance, LLC (A) to Compel Debtor YRC, Inc. to Assume or
        Reject Equipment Lease Covering Approximately 246 Wabash Duraplate Pup Trailers;
        (B) For Relief from the Automatic Stay Pursuant to 11 USC 362(d) to Permit Movant to


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        Exercise Rights and Enforce Remedies Against Debtor YRC, Inc. with Respect to
        Equipment Lease and Trailers and (C) to Waive the 14 Day Stay of Enforcement
        Pursuant to FRBP 4001(a)(3) [Filed: 9/15/23] (Docket No. 576)

        Response Deadline: October 2, 2023 at 4:00 p.m. (ET) (extended for the Debtors until
        10/19/23 at 4:00 p.m. (ET))

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       [Proposed] Order [Filed: 9/15/23] (Docket No. 576)

        Status: This matter is adjourned by agreement of the parties until October 27, 2023 at
        12:00 p.m. (ET).

8.      Motion of Gary W. Gibby for Relief from the Automatic Stay [Filed: 9/19/23] (Docket No.
        608)

        Response Deadline: October 3, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
        at 4:00 p.m. (ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion of Gary W. Gibby for Relief from the Automatic
                 Stay [Filed: 9/19/23] (Docket No 608, Exhibit A)

        B.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Gary W. Gibby to (I) Extend the Deadline to respond to Motion to Lift the
                 Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 10/3/23]
                 (Docket No. 747)

        Status: This matter is adjourned until November 13, 2023 at 10:00 a.m. (ET).

9.      Motion of Lawrence Nowicki for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
        362(d) of the Bankruptcy [Filed: 9/26/23] (Docket No. 659)




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        Response Deadline: October 11, 2023 at 5:00 p.m. (ET) (extended until October 12, 2023
        at 4:00 p.m. (ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion of Lawrence Nowicki for Relief from the
                 Automatic Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy [Filed: 9/26/23]
                 (Docket No. 659)

        B.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Lawrence Nowicki to (I) Extend the Deadline to Respond to Motion to Lift the
                 Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 10/6/23]
                 (Docket No. 780)

        Status: This matter is adjourned until November 13, 2023 at 10:00 a.m. (ET).

10.     Motion of Corporate Lodging Consultants Inc. and Comdata, Inc., Pursuant to Bankruptcy
        Code Section 362(d), Bankruptcy Rule 4001, and Local Rule 4001-1, for Relief From the
        Automatic Stay to Effectuate Setoff of Security Deposit [Filed: 9/26/23] (Docket No. 663)

        Response Deadline: October 10, 2023 at 4:00 p.m. (ET)

        Responses Received: None.

        Related Documents:

        A.       [Proposed] Order Granting Motion of Corporate Lodging Consultants Inc. and
                 Comdata, Inc., Pursuant to Bankruptcy Code Section 362(d), Bankruptcy Rule
                 4001, and Local Rule 4001-1, for Relief From the Automatic Stay to Effectuate
                 Setoff of Security Deposit [Filed: 9/26/23] (Docket No. 663)

        Status: This matter is adjourned until November 13, 2023 at 10:00 a.m. (ET).




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CONTESTED MATTERS:

11.     Motion of Brett Groves for Relief From the Automatic Stay to the Extent of Liability
        Insurance Proceeds [Filed: 8/24/23] (Docket No. 334)

        Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
        at 4:00 p.m. ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion for Relief from the Automatic Stay to the
                 Extent of Liability Insurance Proceeds [Filed: 8/24/23] (Docket No. 334, Exhibit
                 B)

        B.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Brett Groves to (I) Extend the Deadline to Respond to Motion to Lift the
                 Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                 (Docket No. 427)

        C.       Notice of Extension of Time to Respond to Motion to Lift the Automatic Stay
                 [Filed: 10/5/23] (Docket No. 777)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

12.     Motion of Myriam Binette for Relief From the Automatic Stay [Filed: 8/28/23] (Docket
        No. 344)

        Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
        at 4:00 p.m. ET)

        Responses Received:

        A.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)



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        Related Documents:

        A.       Notice of Motion of Myriam Binette for Relief from Stay Under Section 362 of
                 the Bankruptcy Code [File: 8/30/23] (Docket No. 364)

        B.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Myriam Binette to (I) Extend the Deadline to Respond to Motion to Lift the
                 Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                 (Docket No. 429)

        C.       Notice of Extension of Time to Respond to Motion to Lift the Automatic Stay
                 [Filed: 10/5/23] (Docket No. 776)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

13.     Motion of Paul Clark and Jean Clark for Relief From the Automatic Stay to the Extent of
        Liability Insurance Proceeds [Filed: 8/29/23] (Docket No. 358)

        Response Deadline: September 12, 2023, at 4:00 p.m. ET (extended until October 12, 2023
        at 4:00 p.m. ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                 Extent of Liability Insurance Proceeds [Filed: 8/29/23] (Docket No 358, Exhibit
                 B)

        B.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Paul Clark and Jean Clark to (I) Extend the Deadline to Respond to Motion to Lift
                 the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                 9/8/23] (Docket No. 428)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

14.     Motion for Relief From Stay [Filed by Dariun Wright] [Filed: 9/8/23] (Docket No. 423)


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        Response Deadline: October 16, 2023 at 4:00 p.m. (ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.     Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
               the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
               (Docket No. 827)
        Related Documents: None.

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

15.     Motion of James Charles Howard for Relief From the Automatic Stay to the Extent of
        Liability Insurance Proceeds [Filed: 9/14/23] (Docket No. 553)

        Response Deadline: September 28, 2023 at 4:00 p.m. (ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                 Extent of Liability Insurance Proceeds [Filed: 9/14/23] (Docket No. 553, Exhibit
                 B)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

16.     Motion of Amer Nasser and Meira Ulloque for Relief From the Automatic Stay [Filed:
        9/20/23] (Docket No. 615)

        Response Deadline: October 4, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
        at 4:00 p.m. (ET)




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        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Amer Nasser and Meira Ulloque to (I) Extend the Deadline to Respond to Motion
                 to Lift the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                 9/28/23] (Docket No. 688)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

17.     Motion of Paul R. Wyszynski for Relief from the Automatic Stay Pursuant to Section
        362(d) of the Bankruptcy Code [Filed: 9/21/23] (Docket No. 630)

        Response Deadline: October 5, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
        at 4:00 p.m. (ET)

        Responses Received: None.

        Related Documents:

        A.       [Proposed] Motion of Paul R. Wyszynski for Relief from the Automatic Stay
                 Pursuant to Section 362(d) of the Bankruptcy Code [Filed: 9/21/23] (Docket No.
                 630)

        B.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Paul R. Wyszynski to (I) Extend the Deadline to Respond to Motion to Lift the
                 Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/28/23]
                 (Docket No. 687)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

18.     Motion for Relief From the Automatic Stay Filed by Tena J. Spence [Filed: 9/28/23]
        (Docket No. 684)

        Response Deadline: October 12, 2023 at 5:00 p.m. (ET)

        Responses Received:

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        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion for Relief From the Automatic Stay Filed by
                 Tena J. Spence [Filed: 9/28/23] (Docket No. 684, Exhibit C)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

19.     Motion of Jesse Israel Newton for Relief From the Automatic Stay [Filed: 10/3/23] (Docket
        No. 741)

        Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion of Jesse Israel Newton for Relief From the
                 Automatic Stay [Filed: 10/3/23] (Docket No. 741)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

20.     Motion of Jimmie and Janel Hubert for Relief from the Automatic Stay Pursuant to 11
        U.S.C. § 362 [Filed: 10/4/23] (Docket No. 758)

        Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance

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                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion of Jimmie and Janel Hubert for Relief from the
                 Automatic Stay Pursuant to 11 U.S.C. § 362 [Filed: 10/4/23] (Docket No. 758)

        Status: This matter is adjourned by agreement of the parties until November 13, 2023
        at 10:00 a.m. (ET).

21.     Motion of Donna Lee Daugherty for Order Pursuant to Section 362(d) of the Bankruptcy
        Code, Bankruptcy Rule 4001 and Local Bankruptcy Rule 4001-1 Modifying the Automatic
        Stay to Allow Continuation of the Wrongful Death Litigation [Filed: 10/5/23] (Docket No.
        770)

        Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

        Responses Received:

        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion of Donna Lee Daugherty for Order Pursuant to
                 Section 362(d) of the Bankruptcy Code, Bankruptcy Rule 4001 and Local
                 Bankruptcy Rule 4001-1 Modifying the Automatic Stay to Allow Continuation of
                 the Wrongful Death Litigation [Filed: 10/5/23] (Docket No. 770, Exhibit A)

        Status: This matter will go forward.

22.     Motion of Anthony Martino for Orders Granting Relief From the Automatic Stay [Filed:
        10/7/23] (Docket No. 789)

        Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

        Responses Received:


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        A.       Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                 Company to Motions for Relief from the Automatic Stay to the Extent of Insurance
                 Proceeds [Filed: 10/12/23] (Docket No. 823)

        B.       Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                 the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                 (Docket No. 827)

        Related Documents:

        A.       [Proposed] Order Granting Motion of Anthony Martino For Orders Granting Relief
                 From the Automatic Stay [Filed: 10/7/23] (Docket No. 789, Exhibit A)

        B.       [Proposed] Order Partially Granting Motion of Anthony Martino and Granting
                 Limited Interim Relief From the Automatic Stay [Filed: 10/7/23] (Docket No. 789,
                 Exhibit B)

        Status: This matter will go forward.




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Dated: October 21, 2023
Wilmington, Delaware

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